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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

--------------------------------------------------------- X
KWIK TICKET INC.,                                         :
by its 50% owner, FLORENCE SHAMAH,                        :
and FLORENCE SHAMAH, Individually,                        :   Case No. 20-cv-01201-FB-SJB
                                                          :
                                    Plaintiff,            :
                                                          :
                    -against-                             :
                                                          :
LARRY SPIEWAK, et al.,                                    :
                                                          :
                                    Defendants.           :
--------------------------------------------------------- X




                        REPLY MEMORANDUM OF
   DEFENDANTS LARRY SPIEWAK, MINDY SPIEWAK, AND MALKAH JACOBOVITS
     IN SUPPORT OF THEIR MOTION TO COMPEL, MOTION TO DISMISS, AND
                           MOTION TO STRIKE




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                                               INTRODUCTION1

          This case should be compelled to arbitration because the parties negotiated and agreed

 upon a broad and binding arbitration provision in the Shareholders’ Agreement. Despite relying

 on the Shareholders’ Agreement in her sworn affirmation, in her Amended Complaint, and in her

 motion for a TRO, Plaintiff now disavows that agreement and claims that it is an inoperative

 “draft.” The Court should disregard this transparent double-talk, which is directly contradicted by

 Plaintiff’s prior statements and pleadings. Not liking a provision in an agreement is no reason to

 misrepresent facts to the Court. Even if Plaintiff’s new position were accurate (which it is not), the

 Shareholders’ Agreement still remains legally binding as Plaintiff objectively demonstrated

 acceptance of the agreement. Thus, Plaintiff’s claims must be compelled to arbitration.

          Alternatively, this Court should dismiss several of Plaintiff’s claims. Crucially, Plaintiff

 provides no legal basis for recasting her “garden-variety” fraud claims (and weak ones at that) as

 federal RICO claims. She asserts that the whole of Kwik Ticket is a criminal enterprise, but then

 also refers to Kwik Ticket as a “victim” of the alleged theft. Kwik Ticket cannot be both the

 perpetrator and victim of the alleged criminal enterprise. For this and other reasons, Plaintiff’s

 RICO claims must be dismissed. Plaintiff also fails to defend her claims for conversion and for

 injunctive relief, which are simply not applicable here. Finally, Plaintiff’s purported justification

 for including scandalous and impertinent materials in the amended complaint does not withstand

 scrutiny, and those allegations must be struck.

          For these reasons, and as discussed below, the Court should grant the Spiewak Defendants’

 Motions to Compel Arbitration, Dismiss, and Strike.




 1
  This Court granted leave to file a brief of up to 20 pages on October 12, 2021. Capitalized terms not defined in this
 brief shall have the meaning given to them in the Spiewak Defendants’ moving brief.


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                                            ARGUMENT

 I.     This Court Should Grant The Spiewak Defendants’ Motion To Compel

        A.      Plaintiff Has Repeatedly Asserted In This Court That The Shareholders’
                Agreement Is A Valid And Binding Agreement, And This Court Should
                Disregard Her Eleventh-Hour Assertion That It Is A Non-Binding Draft

        From the very start of this case, Plaintiff and her son (and purported attorney-in-fact), Isaac

 Shamah, repeatedly invoked the Shareholders’ Agreement as a basis for her misplaced derivative

 claims. But conveniently, Plaintiff now claims that the Shareholders’ Agreement was a non-

 binding “draft.” See Opp. at 2-5, 8-19. This Court should disregard Plaintiff’s wholesale reversal

 because it is well established that a party cannot defeat a motion by submitting an affidavit in

 opposition that is contradictory to the party’s prior factual assertions. See In re Fosamax Prod.

 Liab. Litig., 707 F.3d 189, 195 (2d Cir. 2013).

        Plaintiff expressly relied on the Shareholders’ Agreement in her March 30, 2020,

 affirmation in this Court in support of her request for a TRO and preliminary injunction. Dkt. Nos.

 29, 29-5. In her affirmation, Plaintiff unequivocally premised her claims on the Shareholders’

 Agreement by stating that “Mr. Spiewak’s unilateral actions are particularly offensive in light of

 [the] Stockholder’s Agreement (Exhibit E hereto), which specifically states that ‘the change in

 salary or other compensation to be received by any Shareholder’—which includes me—requires

 the consent of at least three directors (Exh. E, Sec. 3(c)(ii))), as does any ‘other major change in

 the business of the Corporation.’ (Id., sec. 3(c)(viii).” Dkt. No. 29 at 4 (emphasis added). Plaintiff

 then accused Mr. Spiewak of “disregard[ing] the Stockholder’s Agreement.” Id. She also argued

 that the Shareholders’ Agreement had not been replaced by any other documents: “As to the latter

 Agreement, I note that the parties have agreed that ‘[n]o provisions hereof may be altered, waived,




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 amended or revoked, except in a writing to be signed by the party to be charged therewith.’ There

 are no writings which preempt the clear terms of the Stockholder’s Agreement.” Id.2

         Plaintiff’s son (and purported attorney-in-fact), Isaac Shamah, also submitted the

 Shareholders’ Agreement to this Court in support of Plaintiff’s request for a TRO and preliminary

 injunction. Dkt. Nos. 12, 12-2. Most notably, Isaac Shamah swore in his affidavit that: “The

 Company’s stockholder’s agreement is structured such that each side gets to appoint two of the

 four directors (Exhibit B, Section 3(a)).” Dkt. No. 12 at 3. Mr. Shamah also stated that he had

 issued a “Notice of Designation of Directors” on March 17, 2020 pursuant to the Shareholders’

 Agreement that stated:

               Reference is made to the stockholder’s agreement of Swift Ticket Inc., now
         known as Kwik Ticket Inc. (the “Company”), dated as of March 13, 1980
         (“Agreement”). . . .

                 PLEASE TAKE NOTICE that, pursuant to Section 3(a) of the Agreement,
         the Shamah Group (the interests of which are owned 100% by Florence Shamah)
         hereby designates the following as Directors of the Company: Florence Shamah
         [and] Isaac D. Shamah

                 PLEASE TAKE FURTHER NOTICE that, pursuant to Section 3(b) of the
         Agreement, ISAAC D. SHAMAH is hereby designated as the spokesman on behalf
         of the Shamah Group.

 Dkt. No. 12-3. At no point does Isaac Shamah state that the Shareholders’ Agreement was

 allegedly a non-operational “draft” or that it was not properly signed. See Dkt. No. 12.

         However, now, in a transparent attempt to avoid the arbitration provision in the

 Shareholders’ Agreement, Plaintiff posits that the Shareholders’ Agreement is inoperative. Opp.

 8-14. Plaintiff’s son, Isaac Shamah, submitted a declaration stating that the Shareholders’

 Agreement was only a “draft” agreement even though he personally executed it. His basis appears


 2
  In her briefing for a TRO and preliminary injunction, Plaintiff similarly asserted that her claims were based on the
 Shareholders’ Agreement: “The core of this motion for a preliminary injunction is that Mr. Spiewak has taken total
 control of the Corporation—including finances and major decisions—in violation of . . . the Stockholder’s
 Agreement.” Dkt. No. 28 at 4 (emphasis added).


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 to be that he “forgot about it” and therefore his lack of memory voids it. See Isaac Shamah Decl.

 at 1-4. His purported lack of memory is puzzling, though, given that his declaration would suggest

 amazing recall when describing in detail events that supposedly happened over 40 years ago when

 Jimmy Carter was President.3

         Isaac Shamah’s new declaration should be disregarded. The Second Circuit has long

 recognized that a party opposing a motion may not attempt to defeat the motion by submitting an

 affidavit that is contradictory to the party’s prior factual assertions. See Fosamax, 707 F.3d at 195

 (“[W]e are also aware of the greater facility with which a party can craft an affidavit, or shape

 deposition testimony, when evidentiary gaps have been identified in an adversary’s summary

 judgment arguments.”). When the facts asserted in such an affidavit are “so contradictory that

 doubt is cast upon their plausibility,” the Court should disregard those facts to prevent “the

 mendacious [from] seek[ing] windfalls in the litigation lottery.” Rojas v. Roman Catholic Diocese

 of Rochester, 660 F.3d 98, 106 (2d Cir. 2011); see also Fosamax, 707 F.3d at 193; Lumhoo v.

 Home Depot USA, Inc., 229 F. Supp. 2d 121, 143 (E.D.N.Y. 2002).

         Here, Isaac Shamah’s new factual assertions about the Shareholders’ Agreement directly

 contradict his and Plaintiff’s prior sworn assertions to this Court. See Dkt. Nos. 12, 29. Plaintiff

 remains conspicuously silent about the new factual assertions that her son is making, and notably,

 she does not submit a declaration of her own to address these new, glaringly inconsistent facts.

 Now that Plaintiff realizes that her claims are governed by the arbitration provision in the

 Shareholders’ Agreement, she and her son are spinning their wheels in reverse to get out of that




 3
   Plaintiff claims that her counsel’s reliance on the Shareholders’ Agreement in a pre-litigation demand letter was a
 mistake, see Opp. at 4, but she does not, and cannot, explain the discrepancies between her and her son’s prior sworn
 statements, and their current position.


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 agreement. The Court should therefore disregard Isaac Shamah’s new, contradictory, and

 unsupportable declaration. See Fosamax, 707 F.3d at 193.

          B.       Even If This Court Considers Plaintiff’s New Factual Assertions, The
                   Arbitration Provision In The Shareholders’ Agreement Is Still Binding

          Although Plaintiff now asserts that the Shareholders’ Agreement is a mere “draft,” this

 legal conclusion does not flow from Isaac Shamah’s new declaration. As an initial matter, Plaintiff

 does not dispute—and cannot avoid—the fact that Mr. Spiewak, Kwik Ticket, and Isaac Shamah all

 signed the Shareholders’ Agreement. Dkt. No. 12-2 at 8. Mr. Spiewak is a named party in this case and

 Kwik Ticket is a nominal party, and those parties are accordingly required to arbitrate their disputes.

 See, e.g., Maye v. Smith Barney Inc., 897 F. Supp. 100, 108 (S.D.N.Y. 1995) (a party is bound by an

 arbitration agreement by signing it); Smith v. Lehman Brothers, Inc., No. 95 CIV. 10326 (JSM), 1996

 WL 383232, at *1 (S.D.N.Y. July 8, 1996) (same). Additionally, Isaac Shamah signed the

 Shareholders’ Agreement, and even though he claims to no longer be a shareholder, his obligation to

 arbitrate his disputes transferred to his mother if she took assignment of his shares. See Dkt. No. 12-2

 at ¶¶ 5(a), 14(b). Thus, the Shareholders’ Agreement was adequately signed to require arbitration in

 this case.4

          On a more fundamental level, though, neither New York contract law nor the Federal

 Arbitration Act require the Shareholders’ Agreement or arbitration provision to be fully executed

 to be valid. New York law has “long held that a contract may be valid even if it is not signed by

 the party to be charged . . . .” Flores v. Lower E. Side Serv. Ctr., Inc., 4 N.Y.3d 363, 368 (2005).

 “In determining whether the parties entered into a contractual agreement and what were its terms,

 it is necessary to look . . . to the objective manifestations of the intent of the parties as gathered by


 4
   Plaintiff asserts that the Spiewak Defendants cannot address the validity of the Shareholders’ Agreement in their
 reply brief because it would be a new argument. However, the Spiewak Defendants are merely responding to Plaintiff’s
 new arguments and factual assertions, which is the very purpose of a reply brief. See Zirogiannis v. Seterus, Inc., 221
 F. Supp. 3d 292, 298 (E.D.N.Y. 2016).


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 their expressed words and deeds . . . .” Brown Bros. Elec. Contrs. v. Beam Constr. Corp., 41

 N.Y.2d 397, 399-400 (1977); see also Matter of Municipal Consultants & Publs. v. Town of

 Ramapo, 47 N.Y.2d 144, 148-50 (1979).

        These general principles of contract law apply in the arbitration context. See God’s

 Battalion of Prayer Pentecostal Church, Inc. v. Miele Assoc., 6 N.Y.3d 371, 373-74 (2006) (“[W]e

 reiterate our long-standing rule that an arbitration clause in a written agreement is enforceable,

 even if the agreement is not signed, when it is evident that the parties intended to be bound by the

 contract.”); Thomas v. Pub. Storage, Inc., 957 F. Supp. 2d 496, 499 (S.D.N.Y. 2013) (“The FAA

 requires only that an arbitration agreement be in writing, not that it be signed.”). A court’s “concern

 should [be] merely [] whether the parties made a valid agreement to arbitrate and not whether the

 contract as a whole was unenforceable.” Wagner Acquisition Corp. v. Giove, 250 A.D.2d 857,

 857-58 (2d Dep’t 1998).

        Here, the Shareholders’ Agreement is a valid contract, even if Isaac Shamah did not obtain

 the signatures of the other Shamah Group shareholders, because Isaac Shamah’s declaration

 demonstrates an objective manifestation of the parties to enter into the Shareholders’ Agreement.

 Isaac Shamah actually takes credit for allegedly taking the initiative to draft the Shareholders’

 Agreement, says that he obtained Mr. Spiewak’s signature, and then he signed the agreement

 himself. See Isaac Shamah Decl. at 2-3. Isaac Shamah further admits that the Shareholders’

 Agreement “was designed to govern and bind all shareholders.” Id. at 3. He claims that he did not

 obtain the signatures of the other Shamah Group shareholders, but that was only because he

 “forgot” to do so, and not because they had intended to reject the Shareholders’ Agreement. See

 id. Additionally, Isaac Shamah took these actions not just for himself, but for the other Shamah

 Group shareholders because his father had delegated to him the responsibility of “tak[ing] care of




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 setting up the business legally.” See id. at 2. Isaac Shamah also allegedly has power-of-attorney

 for his mother, who is Plaintiff in this case. See id. at 1.

         Although Plaintiff argues that the terms of the Shareholders’ Agreement were “never

 followed” since the execution of the Shareholders’ Agreement, Opp. at 12, both Plaintiff and Isaac

 Shamah have demonstrated that they were aware of the Shareholders’ Agreement and believed it

 to be valid and enforceable. In March 2020, Plaintiff, through her son, issued the “Notice of

 Designation of Directors” pursuant to Sections 3(a) and 3(b) of the Shareholders’ Agreement. Dkt.

 No. 12-3. Later, both Plaintiff and her son submitted separate declarations to this Court asserting

 that the Shareholders’ Agreement was binding in this case. Dkt. Nos. 12, 12-2, 29, 29-5. Based

 upon these acknowledgements of the validity of the Shareholders’ Agreement, Plaintiff has

 objectively demonstrated an intent to be bound by it. See God’s Battalion, 6 N.Y.3d at 373-74.

         Plaintiff does not address this body of law, but instead argues that the Shareholders’

 Agreement is invalid because it needed to be signed by all of the shareholders under statutory law

 and under the text of the agreement itself. See Opp. at 8-14. Id. Both of her arguments fail.

         First, no statute requires the Shareholders’ Agreement to be signed by all of the Shamah

 Group shareholders. The New York statute of frauds, General Obligations Law 5-701, does not

 contain any provisions applicable to the Shareholders’ Agreement. Plaintiff instead asserts that

 N.Y. Bus. Corp. Law § 620(a) requires “all voting agreements between shareholders” to be signed,

 but Plaintiff only contends that this statute affects the validity of Section 3(a) of the Shareholders’

 Agreement. Opp. at 12. However, as a matter of law, when examining the validity of an arbitration

 provision, this Court’s only concern should be about the validity of the arbitration provision, and

 not the contract as a whole. See Wagner Acquisition, 250 A.D.2d at 857-58. Thus, regardless of

 the effect that § 620(a) may have on Section 3(a) of the Shareholders’ Agreement, § 620(a) would




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 not affect the validity of the arbitration provision, and that is the determinative fact for a motion

 to compel. See id. Additionally, even if Section 3(a) were invalid under § 620(a), Section 14(a) of

 the Shareholders’ Agreement contains a “no waiver” clause that would leave in place the

 arbitration provision in Section 13. See Dkt. No. 12-2 at 7-8.

         Second, the Shareholders’ Agreement itself does not require signatures from all of the

 Shamah Group shareholders for it to be valid. Plaintiff contends that the Shareholders’ Agreement

 must be fully executed because the Shareholders’ Agreement named eight individual parties and

 “contemplated execution by all of the parties.” Opp. at 10-11. Such statements, however, are

 insufficient to require the signatures of all parties, and the Shareholders’ Agreement does not

 contain any language requiring it to be fully executed before it becomes binding. See Dkt. 12-2 at

 1-8. The absence of any such language here dooms Plaintiff’s argument because New York law

 holds that even “[t]he inclusion, in the formal document intended to encompass the terms of an

 agreement, of the language that ‘[t]he Agreement is complete and binding upon its execution by

 all signatories’ is simply insufficient to be treated as an explicit reservation that the parties should

 not be bound by the terms of their agreement until the written agreement is fully executed.”

 Kowalchuk v. Stroup, 61 A.D.3d 118, 124 (1st Dep’t 2009).

         Furthermore, just as the Shareholders’ Agreement does not require all of the shareholders

 to sign the agreement, the Shareholders’ Agreement also does not require its delivery. Plaintiff

 identifies no statutory basis for requiring delivery, Opp. at 11, and the Shareholders’ Agreement

 does not condition enforcement based on the delivery of the contract. See CBRE, Inc. v. Pace

 Gallery of N.Y., Inc., No. 1:17-cv-02452-ALC-SN, 2021 WL 1198644, at *6 (S.D.N.Y. Mar. 30,

 2021) (“Under New York law, contract formation is not defeated by nondelivery of the written

 document unless the parties condition its enforcement upon physical delivery.”). Plaintiff relies on




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 Schwartz v. Greenberg, 304 N.Y. 250, 254-55 (1952), for the proposition that delivery is required

 to form a valid contract, but delivery was required in Schwartz only because the parties had entered

 into a formal contract that expressed an intent not to be bound “until a written agreement had been

 signed and delivered.” However, the Shareholder’s Agreement contains no such requirement.5 The

 Shareholders’ Agreement is therefore binding even if Isaac Shamah “forgot” to get the signatures

 of his other family members.

         C.       This Case Fits Squarely Within The Broad Arbitration Provision In The
                  Shareholders’ Agreement

         Plaintiff acknowledges that the arbitration provision in the Shareholders’ Agreement states

 that it applies to “[a]ny dispute relating to or arising out of this agreement,” but remarkably,

 Plaintiff contends that the claims in this case fall outside of that broad provision. See Opp. at 14-

 17. Plaintiff’s argument fails for three reasons.

         First, the arbitration provision in the Shareholders’ Agreement states that it applies to

 “[a]ny dispute relating to or arising out of this agreement,” and under well-established case law,

 this provision is all-encompassing. Plaintiff claims that “the introductory phrase ‘any dispute’ does

 not serve to make this a broad clause, because that language is then limited and qualified by the

 immediately following words ‘relating to or arising out of this agreement.’” Opp. at 14-15. This

 argument is directly contradicted by on-point case law, which recognizes that an arbitration

 provision is not narrow just because it refers to the underlying agreement. See, e.g., Collins &

 Aikman Prods. Co. v. Bldg. Sys., 58 F.3d 16, 20 (2d Cir. 2005) (“The clause in this case, submitting

 to arbitration ‘[a]ny claim or controversy arising out of or relating to th[e] agreement,’ is the




 5
  Plaintiff similarly asserts—in a footnote and without any legal authority—that Spiewak needed to submit evidence
 of his authority to sign on behalf of Kwik Ticket. See Opp. at 11 n.4. But just as a signature was not needed for the
 Shareholders’ Agreement to be binding, evidence of authorization of a signature was also not required. See God’s
 Battalion, 6 N.Y.3d at 373-74 (recognizing that an agreement can be enforceable even if it is not fully signed).


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 paradigm of a broad clause.” (emphasis added)); Paramedics Electromedicina Comercial, Ltda v.

 GE Med. Sys. Info. Tech., Inc., 369 F.3d 645, 649 (2d Cir. 2004) (finding that an arbitration

 provision is broad when it applied to “any controversy, claim or dispute between the Parties arising

 out of or relating in any way to this Agreement” (emphasis added)).

        Second, the Spiewak Defendants accurately identified in their Motion to Compel a variety

 of Plaintiff’s allegations that are directly related to the Shareholders’ Agreement. See Mot. at 10-

 11. Plaintiff asserted allegations concerning Mr. Spiewak’s responsibilities and compensation, and

 those allegations directly relate to the sections in the Shareholders’ Agreement entitled “Operation

 of the Business” and the “Employment of Mr. Spiewak.” See Dkt. No. 12-2 at ¶¶ 3, 4. Plaintiff

 herself has previously acknowledged to this Court that her claims relate to the Shareholders’

 Agreement when arguing that “Mr. Spiewak’s unilateral actions are particularly offensive in light

 of Stockholder’s Agreement . . . .” Dkt. No. 29 at 4. She also accused Mr. Spiewak of

 “disregard[ing] the Stockholder’s Agreement.” Id. These admissions firmly establish the

 relatedness of the Shareholders’ Agreement.

        Third, Plaintiff fails when she tries to argue that her claims are based on other sources of

 law, besides the Shareholders’ Agreement. Plaintiff asserts, for example, that her compensation

 arguments are based on “other and much later agreements.” See Opp. at 16. She of course never

 identifies those alleged “later agreements,” and such “later agreements” would not nullify the

 relevance of the Shareholders’ Agreement. Instead, if true, her argument merely shows that one or

 more agreements may be relevant to Plaintiff’s claims, but there is no suggestion that any of these

 unidentified “other agreements” contained an amendment to the arbitration provision at issue.

 Plaintiff also tries to tie her claims back to the formation of Kwik Ticket, and while “New York

 statutory and common law” about the formation of a company may have a role to play in this




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 litigation, those sources of law do not displace or somehow exclude the binding provisions of the

 Shareholders’ Agreement. See, e.g., Bamira v. Greenberg, 256 A.D.2d 237, 237 (1st Dep’t 1998)

 (recognizing that the parties to a shareholders’ agreement were bound by that agreement even

 when the underlying corporation was never formed).

         Overall, the Shareholders’ Agreement contains a broad arbitration provision that applies to

 this case because Plaintiff asserts specific challenges to Mr. Spiewak’s responsibilities and

 compensation at Kwik Ticket. This Court must therefore compel this dispute to arbitration.

         D.       The Spiewak Defendants Are Not Judicially Estopped From Invoking The
                  Arbitration Provision In The Shareholders’ Agreement

         In a last-ditch effort to get this Court to ignore the Shareholders’ Agreement, Plaintiff

 muddles the procedural history of the State Court Action to argue that the Spiewak Defendants are

 judicially estopped from asserting that there is a binding arbitration provision. See Opp. at 17-19.

 But judicial estoppel does not apply in this case because Plaintiff misrepresents the parties, their

 arguments, and the rulings in the State Court Action.

         First, Plaintiff misrepresents the identity of the parties in the State Court Action. See Opp.

 17-19. The sole plaintiff in the State Court Action was Kwik Ticket, Inc. Dkt. No. 15-1. None of

 the Spiewak Defendants in this case were parties to the State Court Action. Id. The defendant in

 the State Court Action was Isaac Shamah, who is not a party here. Id.6 These facts are crucial

 because judicial estoppel only applies to a position that was taken by the “same party” in prior

 litigation. See DeRosa v. Nat’l Envelope Corp., 595 F.3d 99, 103 (2d Cir. 2010). Here, the Spiewak

 Defendants in this case are not the same as Kwik Ticket in the State Court Action, and as a result,

 Plaintiff is unable to establish the first element of judicial estoppel. See id.



 6
   Florence Shamah was initially named as a defendant in the State Court Action, but Kwik Ticket dropped her from
 the case shortly thereafter. See Dkt. No. 43 at 3.


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         Plaintiff tries to blur the identities of the Mr. Spiewak and Kwik Ticket by asserting that

 “Spiewak, in his role as President, authorized the corporation to bring [the State Court

 Action] . . . .” Opp. at 18. This argument fails, however, because Mr. Spiewak’s role in managing

 Kwik Ticket does not change the fact that Kwik Ticket is a legally separate entity from Mr.

 Spiewak. See, e.g., Svenningsen v. Ultimate Prof’l Grounds Mgmt., Inc., No. 14 Civ. 5161 (NSR),

 2017 WL 3105871, at *3-4 (S.D.N.Y. July 20, 2017) (recognizing that an individual is not the

 same as an LLC for purposes of judicial estoppel).7 By comparison, Plaintiff cites no law

 establishing that Mr. Spiewak can be equated with Kwik Ticket. See Opp. at 17-19.8

         Plaintiff also fails in her attempt to somehow equate Mrs. Spiewak, Malkah Jacobovits,

 and Joel Boikess with Kwik Ticket. See Dkt. 81 at 1. Whatever the relationship between Mr.

 Spiewak and Kwik Ticket, Plaintiff never provides any basis for concluding that Kwik Ticket is

 identical to, or in privity with, the other three defendants in this case. See id.

         Second, Plaintiff misrepresents the arguments litigated in the State Court Action. See Opp.

 at 17-19. In that action, Kwik Ticket sought emergency relief to stop Isaac Shamah from interfering

 with and continuing to harm Kwik Ticket’s operations. See Dkt. No. 43. The parties’ arguments

 did not address (or even touch on) the applicability of the arbitration provision in the Shareholders’

 Agreement. See id. Indeed, that issue never came up in the State Court Action because (1) Isaac

 Shamah had transferred his shares to his mother and he was no longer a shareholder under the

 Shareholders’ Agreement, see Dkt. No. 81 at ¶ 10, and (2) urgent injunctive relief was necessary

 to protect Kwik Ticket from Isaac Shamah and the state court was the appropriate forum to issue




 7
   Notably, in the State Court Action, plaintiff Kwik Ticket was represented by attorneys from Goldberg Weg & Markus
 PLLC, who are not counsel to the Spiewak Defendants in this case. See Dkt. No. 15-1; Dkt. No. 81.
 8
   By asserting here that Mr. Spiewak is the same as Kwik Ticket, Plaintiff further undermines her RICO argument that
 she pled an “enterprise” that was distinct from the individual “persons” operating it. See Opp. at 18, 20-23.


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 a restraining order.9 As a result, Kwik Ticket never advanced any arguments in the State Court

 Action that are “clearly inconsistent” with the Spiewak Defendants’ arguments in this case, and

 judicial estoppel is accordingly improper for this reason as well. See DeRosa, 595 F.3d at 103.

         Because Plaintiff is unable to identify an inconsistency between the arguments in the State

 Court Action and in this case, she instead bases her judicial estoppel argument on an out-of-court

 email allegedly from Kwik Ticket’s counsel in the State Court Action (who is not counsel to the

 Spiewak Defendants in this case) to Isaac Shamah’s counsel. Opp. at 17-19. In the email, Kwik

 Ticket’s counsel allegedly asserted that the Shareholders’ Agreement had not been in use for the

 past forty years. Matalon Decl. at ¶ 5 and Exhibit B. However, this email does not provide an

 inconsistent position for judicial estoppel purposes. First and foremost, Kwik Ticket’s counsel

 never specifically repudiated the arbitration provision. Next, this was an email between counsel,

 and not a filing in court. Additionally, statements made by counsel of a party in one case cannot

 be imputed to separate parties represented by separate counsel in a different case. Finally, the

 Shareholders’ Agreement had a no-waiver clause providing that the mere disuse of a provision of

 the Shareholders’ Agreement was not sufficient to modify it, except in a signed writing by the

 parties, and the arbitration provision therefore still remains in effect today. See Dkt. No. 12-2 at ¶

 14; see also Kamin v. Koren, 621 F. Supp. 444, 447 (S.D.N.Y. 1985) (enforcing a nearly identical

 anti-waiver clause).

         Third, Plaintiff misrepresents the ruling of the court in the State Court Action. See Opp. at

 17-19. Although Plaintiff asserts that “Spiewak’s no-need-to-arbitrate position . . . led directly to

 judicial relief,” the state court made no ruling on the arbitration provision in the Shareholders’



 9
  Such litigation is permitted when parties are bound by an arbitration clause. See CPLR 7502(c); Cell Tower Lease
 Acquisition, LLC v. Rego Park N.H. Ltd., 144 A.D.3d 453, 453 (1st Dep’t 2016) (recognizing that both the Federal
 Arbitration Act and New York CPLR article 75 allow parties to seek “judicial injunctions in aid of arbitration”).


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 Agreement. See Dkt. No. 43. Indeed, neither Isaac Shamah nor Kwik Ticket raised any arguments

 about the arbitration provision, and the state court accordingly did not adopt any position on an

 argument not made before the court. See id. In short, when the State Court Action is accurately

 described (which Plaintiff did not do), it provides no basis for judicial estoppel in this case.10

 II.      Alternatively, This Court Should Grant The Spiewak Defendants’ Motion To Dismiss

          A.       Plaintiff Fails To State A RICO Claim Under 18 U.S.C. § 1962(c)

          Kwik Ticket is a legitimate business that produces approximately $7 million in yearly

 revenue. See Dkt. No. 81 at ¶¶ 9, 19, 21. It is not a criminal operation, and Plaintiff’s allegations

 amount to nothing more than accusations that the Spiewak Defendants occasionally siphoned

 money out of Kwik Ticket for their personal benefit. These garden variety accusations of fraud do

 not provide the required elements of a federal RICO claim.11

                            Plaintiff Continues To Conflate The Spiewak Defendants With The
                            Required “Enterprise”

          Plaintiff fails to show that the Spiewak Defendants’ purported self-dealing (which the

 Spiewak Defendants vehemently deny) amounts to a RICO “enterprise.” See Opp. 20-23. Plaintiff

 argues that a company can be an “enterprise” and its employees and shareholders can be “persons”

 for RICO purposes, and she asserts that Kwik Ticket is the “enterprise” while the Spiewak

 Defendants are the “persons.” Opp. at 20-23. But such labels are inconsistent with her allegations.




 10
    The Spiewak Defendants’ moving brief argued that this Court should also compel arbitration for the claims against
 Mrs. Spiewak and Ms. Jacobovits. Plaintiff’s opposition does not challenge those arguments. Instead, Plaintiff focuses
 only on the arguments about Mr. Spiewak and the arbitration provision in the Shareholders’ Agreement. Thus, if the
 Court determines that the arbitration provision in the Shareholders’ Agreement compels arbitration as to Mr. Spiewak,
 this Court should also compel arbitration as to Mrs. Spiewak and Ms. Jacobovits as well.
 11
    Plaintiff suggests in her opposition brief that this Court should give her leave to amend, but Plaintiff has already
 amended her complaint once, and even now, the allegations show that Plaintiff’s claims are nothing more than
 “garden-variety state common law claims.” See Gross v. Waywell, 628 F. Supp. 2d 475, 482 (S.D.N.Y. 2009). Thus,
 further amending the complaint would be futile and any request for leave to amend should be denied. See Cuoco v.
 Moritsugu, 222 F.3d 99, 112 (2d Cir. 2000) (stating that leave to amend is properly denied as futile when “better
 pleading will not cure” defects in a complaint).


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          In the Amended Complaint, Plaintiff accuses the Spiewak Defendants of “theft and looting

 of an enterprise [Kwik Ticket].” Opp. at 20. She asserts that the Spiewak Defendants’ actions

 “corrupted a New York corporation [Kwik Ticket],” and she writes that the Spiewak Defendants’

 alleged “victims include Kwik Ticket.” Id. These statements demonstrate that Plaintiff is alleging

 that the Spiewak Defendants made Kwik Ticket the victim, not the enterprise. As the Southern

 District of New York explained in the factually similar case of Gross v. Waywell, 628 F. Supp. 2d

 475 (S.D.N.Y. 2009) (involving allegations of employees who embezzled company funds for

 personal expenses), such allegations “blur[red] the necessary distinction between the ‘person’ who

 unlawfully conducts the affairs of an ‘enterprise’ and the enterprise itself.” Id. at 498.12

          Instead of providing factual allegations showing how Kwik Ticket was a RICO enterprise,

 Plaintiff simply asserts that she does not need to do so because she can describe the “structure and

 organization” of Kwik Ticket’s corporate activities (New York corporation, principal place of

 business in Brooklyn, sells tagging and related supplies, etc.). Opp. at 22-23. But the case law

 requires a plaintiff to show “the structure and organization of the alleged enterprise,” not merely

 the workings of a corporation. See United States v. Int’l Longshoremen’s Ass’n, 518 F. Supp. 2d

 422, 475 (E.D.N.Y. 2007). Plaintiff’s silence about Kwik Ticket as an enterprise reveals that

 Plaintiff’s allegations could never support a federal RICO claim. See Gross, 628 F. Supp. 2d at

 485-99; see also Cofacredit S.A. v. Windsor Plumbing Supply Co., 187 F.3d 229, 242 (2d Cir.

 1999) (“Mere common-law fraud does not constitute racketeering activity for RICO purposes.”).13


 12
    Plaintiff asserts that the Spiewak Defendants’ motion made this argument “without relevant authority,” Opp. at 22,
 but the motion did indeed cite Cedric Kushner Promotions Ltd. v. King, 533 U.S. 158, 163 (2001), for the proposition
 that a RICO defendant must have “participated in the conduct of the enterprise’s affairs, not just their own affairs,”
 Mot. at 20.
 13
    Plaintiff’s opposition brief also misstates the Spiewak Defendants’ argument about RICO derivative claims. Opp.
 at 21-22. The Spiewak Defendants did not claim that “there can never be a derivative RICO action,” but instead
 pointed out that when a plaintiff asserts a RICO claim in a derivative action, the Court must carefully ensure that the
 requirement of distinctness is satisfied, such that “the same entity cannot appear as both the RICO ‘enterprise’ and a
 defendant in the same action.” Tuscano v. Tuscano, 403 F. Supp. 2d 214, 226 (E.D.N.Y. 2005). Yet, that is precisely


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                            Plaintiff Is Unable To Identify The Required Predicate Acts

          Plaintiff was unable to explain in her opposition brief how her allegations against the

 Spiewak Defendants amounted to any of the required predicate acts for a federal RICO claim. See

 Opp. at 23-26. She merely falls back on vague and conclusory allegations that the Spiewak

 Defendants violated federal and state law, although none of these allegations provide the required

 specificity as to each individual defendant, especially under the heightened pleading standard of

 Rule 9(b). See Wexner v. First Manhattan Co., 902 F.2d 169, 172-73 (2d Cir. 1990).

          Specifically, for mail and wire fraud, Plaintiff asks this Court to assume that her vague

 allegations about tax filings and distributions would have involved mail or wire fraud. See Opp. at

 23-25. However, this Court should not assume that mail or wire transfers occurred simply because

 Kwik Ticket paid its taxes and made distributions. See, e.g., Utz v. Correa, 631 F .Supp. 592, 596

 (S.D.N.Y. 1986) (holding that the delivery of a letter by messenger was not mail fraud because the

 letter was not sent through the U.S. Postal Service); Trautz v. Weisman, 809 F. Supp. 239, 243-44

 (S.D.N.Y. 1992) (finding no wire fraud because, even though the plaintiffs “unlawfully opened,

 signed, cashed, and deposited” a check, “we do not perceive any use of the wires”). And even if

 Kwik Ticket’s taxes and distributions involved mail or wire transfers, Plaintiff does not show that

 the other elements of these federal crimes were established. See 18 U.S.C. §§ 1341, 1343.14

          Similarly, for money laundering, Plaintiff argues that the purportedly falsified business

 entries in Kwik Ticket’s books and records amount to a felony under New York state law, which

 in turn provides the required “unlawful activity” necessary to establish money laundering under



 what Plaintiff did here by alleging that the individual Spiewak Defendants tried to defraud Kwik Ticket. Plaintiff’s
 allegations treat the Spiewak Defendants as both the “enterprise” and the defendants, which further demonstrates that
 Plaintiff’s allegations do not identify a proper “enterprise” for this RICO claim. See id.
 14
    Plaintiff cites to a Third Circuit case for an example in which forty-one mailings for disbursements and taxes were
 used as the basis of mail fraud, but that case contained specific allegations detailing the nature of those forty-one
 mailings, and no such specific allegations are present here. See Tabas v. Tabas, 47 F.3d 1280, 1286 (3d Cir. 1995).


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 federal law. See Opp. at 25-26. Again, Plaintiff’s argument makes unsupported assumptions about

 Plaintiff’s vague and conclusory allegations, and she does not address many of the required

 elements for those crimes. See 18 U.S.C. § 1956; N.Y. Penal Law §§ 175.05, 175.10.

         Finally, Plaintiff asserts that the Spiewak Defendants engaged in commercial bribery in

 violation of New York Penal Law § 180.03, but such a determination cannot be made “by a bare

 bones statement of the legal claim without any supporting facts” and a plaintiff would need to at

 least assert “how much was paid, when it was paid, or how it was delivered.” Fuji Photo Film

 U.S.A., Inc. v. McNulty, 640 F. Supp. 2d 300, 311, 318 (S.D.N.Y. 2009) (citation omitted). Plaintiff

 offers a mere four-line paragraph to assert that each of the Spiewak Defendants violated this

 statute, and she provides no analysis of the statute’s elements. See Opp. at 26.

                         Plaintiff Does Not Show That Any Predicate Acts Were Related

         This Court must examine whether relatedness was present among the predicate acts. See

 H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239-40 (1989). But Plaintiff only identifies

 commonalities among the Spiewak Defendants’ “fraudulent schemes”—not their predicate acts.

 See Opp. at 27-28. The reason for this inadequacy is simple: after providing only vague and

 conclusory allegations about any purported predicate acts, Plaintiff is unable to now identify any

 specific facts that are common to those predicate acts. See id. Plaintiff’s conclusory arguments,

 therefore, fail to establish relatedness.

                         Plaintiff Does Not Show That Any Predicate Acts Had Closed-Ended
                         Or Open-Ended Continuity

         Just as predicate acts must be related, they must also be continuous, and Plaintiff again

 does not provide any specific allegations about the predicate acts. See Opp. at 28-29. She simply

 refers to her general allegations that the Spiewak Defendants occasionally siphoned money out of




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 the company, but RICO requires the continuity to be established among the predicate acts. See

 H.J. Inc., 492 U.S. at 239-40. Plaintiff therefore fails to establish the required continuity. See id.

        But even if Plaintiff’s allegations are considered for continuity purposes, Plaintiff still fails

 to show closed-ended or open-ended continuity. Plaintiff claims she showed closed-ended

 continuity by alleging that “the predicate acts stretch back nearly two decades ago” and by

 attaching several purportedly fraudulent invoices from June through August 2013. Opp. at 28-29.

 Both allegations, however, are insufficient. Plaintiff’s allegation that continuity stretched back 20

 years is too conclusory. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). As for the alleged 2013

 invoices, they span a mere three months, and the Second Circuit has required at least two years.

 See Spool v. World Child Int’l Adoption Agency, 520 F.3d 178, 184 (2d Cir. 2008) (holding that

 the relevant period of time for evaluating closed-ended continuity is “the time during which RICO

 predicate activity occurred, not the time during which the underlying scheme operated”).

        Plaintiff fares no better with her allegations about open-ended continuity. She asserts that

 the Spiewak Defendants will resume their fraudulent conduct because Kwik Ticket obtained a

 preliminary injunction in the State Court Action barring Isaac Shamah from the Kwik Ticket

 offices. Opp. at 29. This is a baseless, spurious argument that ignores the fact that the preliminary

 injunction in the State Court Action was needed—and imposed—because Plaintiff’s son was

 wrongly interfering with Kwik Ticket’s management. See Dkt. 81 at ¶¶ 44-45. The state court is

 not part of any criminal enterprise.

                        Plaintiff Does Not Show Interstate Commerce

        Plaintiff improperly conflates Kwik Ticket’s legitimate business activity with the activities

 of the enterprise that she alleges. See Opp. at 29-30. She tries to define the “enterprise” so broadly

 as to include all of Kwik Ticket’s business activities, but as explained above, the entirety of Kwik

 Ticket is not a RICO “enterprise” because Plaintiff simultaneously describes Kwik Ticket as the


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 victim of the Spiewak Defendants’ enterprise. See Opp. 20-23. Plaintiff thus needs to show that

 the Spiewak Defendants’ alleged siphoning of funds involved interstate commerce, and she does

 not even attempt to do that. See Opp. at 29-30.

         B.       Plaintiff Fails To State A RICO Claim Under 18 U.S.C. § 1962(d)

         Plaintiff claims that the Supreme Court’s opinion in Salinas v. United States, 522 U.S. 52

 (1997) allows her to state a claim for RICO conspiracy under § 1962(d) despite her failure to

 establish any of the above requirements for a RICO claim under § 1962(c). Opp. at 30-31. But

 Plaintiff is wrong. Although Salinas recognizes that not all of the requirements of § 1962(c) are

 applicable to a conspiracy claim under § 1962(d), to state a viable claim under § 1962(d), Plaintiff

 must still “allege the existence of an agreement to violate RICO’s substantive provisions.”

 Williams v. Affinion Grp., LLC, 889 F.3d 116, 124 (2d Cir. 2018). Here, the same factual predicates

 that fail to establish a claim under § 1962(c) also fail to show any agreement to violate RICO. E.g.,

 First Capital Asset Mgmt., Inc. v. Satinwood, Inc., 385 F.3d 159, 164 (2d Cir. 2004) (“[B]ecause

 Plaintiff’s RICO conspiracy claims are entirely dependent on their substantive RICO claims, we

 also concur in the District Court’s dismissal of the RICO conspiracy claims.”).15

         C.       Plaintiff Did Not Identify Any Tangible Personal Property For A Conversion
                  Claim

         Plaintiff argues that stolen money can be the basis for a conversion claim, but that is not

 what Plaintiff pled in her Amended Complaint. See Opp. 31-32. The Amended Complaint asserts

 that “Larry Spiewak and Malkah Jacobovits exercised the right of ownership over property

 belonging to the Company, to the exclusion of the Company’s rights,” Dkt. No. 81 at ¶ 103, and


 15
    Plaintiff asserts that the Spiewak Defendants’ case law is “outdated,” but Salinas v. United States, 522 U.S. 52
 (1997), was decided in 1997, and First Capital was decided after that in 2004. Plaintiff tries to imply that United
 States v. Applins, 637 F.3d 59 (2d Cir. 2011) broke new ground in the Second Circuit, but that opinion simply applied
 Salinas. Additionally, the language that Plaintiff quotes from Applins that purportedly “echoed” Salinas is actually
 language that was taken from an opinion issued in 1991. See Opp. at 30-31. The Spiewak Defendants’ RICO analysis
 is not outdated, but is consistent with current RICO case law.


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 such language is insufficient to state a viable conversion claim. See, e.g., C & B Enters. USA, LLC

 v. Koegel, 136 A.D.3d 957, 958-59 (2d Dep’t 2016) (the alleged “interference with the right of [a

 company’s] possession of its Property” and interference “with [the individual plaintiff’s] right to

 possession of his ownership of [the company]” could not be used to establish conversion).

        D.      Plaintiff Is Unable To Show Any “Irreparable Harm” For An Injunction

        Plaintiff urges this Court to reexamine its prior finding that no “irreparable harm” is present

 in this case, but she provides this Court with no basis for reaching a different conclusion. See Opp.

 at 32-33. This Court correctly concluded before that no irreparable harm is present because

 Plaintiff could be compensated with monetary damages and because Plaintiff herself delayed in

 bringing this case. Dkt. No. 32 at 3-5.

 III.   This Court Should Strike The Amended Complaint’s Immaterial, Impertinent, And
        Scandalous Material

        Plaintiff is unable to justify her attempt to shame Mr. Spiewak in federal court. She added

 Paragraphs 49 to 53 and Exhibits N and O to the Amended Complaint even though they have

 absolutely no bearing on Plaintiff’s allegation that the Spiewak Defendants siphoned money from

 Kwik Ticket, and Plaintiff does not provide any legitimate basis for their inclusion in her

 opposition brief. See Opp. at 33-35. She vaguely asserts that she needed to post the audio files on

 YouTube to seek reimbursement of settlement funds, but she could have made the exact claim

 without the alleged transcripts or public posting of the audio files. These allegations and Exhibits

 have no real bearing on the case and will prejudice Mr. Spiewak, and this Court should therefore

 strike them. See G-I Holdings, Inc. v. Baron & Budd, 238 F. Supp. 2d 521, 555 (S.D.N.Y. 2002).

                                           CONCLUSION

        For the foregoing reasons, this Court should grant the Spiewak Defendants’ Motions, along

 with such other and further relief as the Court deems just, proper, and equitable.



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 Dated: New York, New York
        October 21, 2021
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